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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION
RYSHAWNS TIMS,                          )
                                        )
      Plaintiff,                        )
                                        )
v.                                      )         CIVIL ACTION NO.
                                        )         1:23-CV-1272-JPB
JEFFREY LANGLEY, et al.,                )
                                        )
      Defendants.                       )

                        MOTION TO STAY DISCOVERY

      Defendants State of Georgia, Jeffrey Langley, T. Buckley Levins, Andrew

Sohn, and Penny Hunter, through counsel, and pursuant to Fed. R. Civ. P. 26(d),

file this motion to stay discovery on the basis of their pending motion to dismiss.

Defendants incorporate by reference the accompanying brief in support of this

motion.

      WHEREFORE, Defendants request that the Court grant this motion and stay

discovery in this action, including without limitation the initial disclosure,

conference and reporting obligations under Local Rules 16 and 26, pending the

final resolution of the motion to dismiss.



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                              Respectfully submitted,

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                              Deputy Attorney General

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                           CERTIFICATE OF SERVICE

      I hereby certify that on May 9, 2023 I electronically filed the foregoing with

the Clerk of Court using the CM/ECF system which will automatically send email

notification of such filing to all the attorneys of record in this case.

      I hereby certify that on this date, I have caused to be served by U.S. mail,

first class postage prepaid, the following persons not on CM/ECF:

      Ryshawn Tims
      5465 Ga-42 P.O. Box 1063
      Ellenwood, GA 30294

      Ryshawn Tims
      3421 Deer Hollow Run SW
      Conyers, GA 30094


      This 9 th day of May, 2023.


                                         s/ Brian E. Goldberg
                                         Brian E. Goldberg




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